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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                        )
ex rel. DONNA MENDEZ AND                        )      Civil Action No. 4:11-cv-02565
SELINA RUSHING                                  )
                                                )
STATE OF TEXAS, ex rel. DONNA                   )
MENDEZ AND SELINA RUSHING,                      )
                                                )
                     Plaintiffs,                )
                                                )
  v.                                            )
                                                )
DOCTORS HOSPITAL AT                             )
RENAISSANCE, LTD., et al                        )
                                                )
                     Defendants.                )



        NOTICE OF APPEARANCE AND SUBSTITUTION OF COUNSEL

        Assistant Attorney General Brent Cockerham hereby enters his appearance as to the

State of Texas, in place of Assistant Attorney General Susan J. Arenella, the presently

listed attorney for the State of Texas. AAG Cockerham’s address and contact information

appears below.

        Dated: December 7, 2021

                                   Respectfully submitted,


                                         KEN PAXTON
                                         Attorney General of Texas

                                         BRENT WEBSTER
                                         First Assistant Attorney General

                                         GRANT DORFMAN
                                         Deputy First Assistant Attorney General
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                               SHAWN E. COWLES
                               Deputy Attorney General for Civil Litigation

                               RAYMOND C. WINTER
                               Chief, Civil Medicaid Fraud Division

                               /s/ Brent Cockerham
                               Brent Cockerham
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                          CERTIFICATE OF SERVICE

      I certify on December 7, 2021, a true and correct copy of the foregoing document
was served via the Court’s ECF system to all counsel of record.


                                                 /s/ Brent Cockerham
                                                 Brent Cockerham
